 4:04-cr-03099-RGK-DLP   Doc # 18   Filed: 05/27/05   Page 1 of 1 - Page ID # 45



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:04CR3099
           v.                        )
                                     )
ROBERT VYHNALEK,                     )
ROSE VYHNALEK and                    )                   ORDER
RICHARD CRAWFORD,                    )
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     A status conference pursuant to FRCrP 17.1 is set for
June 6, 2005 at 9:30 a.m. before the undersigned in courtroom 2,
United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska.

     Counsel for the parties shall be present.             Defendants may,
but are not required to be present.

     DATED this 27th day of May, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
